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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHAUNA NOEL AND EMMANUELLA SENAT,

                                                                            15 CV 5236 (LTS)(KHP)
                                                     Plaintiffs,
                              -against-                                     DEFENDANT’S NOTICE OF
                                                                            CROSS-MOTION FOR
                                                                            SUMMARY JUDGMENT

THE CITY OF NEW YORK,

                                                      Defendant.

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                 PLEASE TAKE NOTICE that, that upon the annexed Declaration of Frances

Polifione, dated August 14, 2020, the exhibits annexed thereto, and Defendant’s Memorandum

of Law in Opposition to the Plaintiffs’ Motion for Partial Summary Judgment and in Support of

Defendant’s Cross-Motion for Summary Judgment, dated August 14, 2020, and upon the

Declaration of Vicki Been, dated August 14, 2020, the Declaration of Bernard R. Siskin, dated

August 13, 2020, the Declaration of Edward Goetz, dated August 13, 2020, Declaration of

Margaret Brown, dated August 14, 2020, Defendant’s Response to Plaintiffs’ Rule 56.1(a)

Statement of Material Facts, and Defendant’s Rule 56.1 Statement of Material Facts, and all

prior papers and proceedings herein, the undersigned will move this Court before the Honorable

Laura Taylor Swain, at the United States Courthouse for the Southern District of New York, 500

Pearl Street, New York, New York, as soon as counsel can be heard, for an order pursuant to

Rule 56(a) of the Federal Rules of Civil Procedure for a judgment dismissing the claims set forth

in the Second Amended Complaint (ECF 469), together with such other and further relief as the

Court deems just, fair and equitable.
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               Pursuant to the Honorable Laura Taylor Swain’s Individual Practice Rule

(A)(2)(b)(ii), the undersigned certifies that Defendant has complied with Rule (A)(2)(b)(i)(1) and

has used its best efforts to resolve informally the matters raised in this submission.

               PLEASE TAKE FURTHER NOTICE, that in accordance with the Honorable

Laura Taylor Swain’s May 5, 2020 order (ECF 890), Plaintiffs’ opposition to this motion must

be filed on or before October 9, 2020, Defendant’s reply is to be filed on or before November 17,

2020, and Plaintiffs’ sur-reply is to be filed on or before December 3, 2020.




Dated:         New York, New York
               August 14, 2020


                                              JAMES E. JOHNSON
                                              Corporation Counsel of the
                                                 City of New York
                                              Attorney for Defendant
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                                              New York, New York, 10007
                                              (212) 356-4371


                                              By:      /s/
                                                       Melanie V. Sadok
                                                       Assistant Corporation Counsel



TO:      By ECF
         Craig Gurian, Esq.
         Mariann Meier Wang, Esq.
         Attorneys for Plaintiffs




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